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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 Donnie McKelvey,

                        Plaintiff,

 v.                                                          Case No.: 1:20-cv-07026

 Soo Line Railroad Company
 d/b/a Canadian Pacific,

                        Defendant.


               UNOPPOSED MOTION FOR ENLARGMENT OF TIME TO
                       ANSWER OR OTHERWISE PLEAD

         NOW COMES Defendant, Soo Line Railroad Company d/b/a Canadian Pacific, (the

“Defendant”), by and through its attorneys, and in support of its Motion for Enlargement of Time

to Answer or Otherwise Plead, states as follows:

       1.      On October 26, 2020, Defendant was served with a Summons and Complaint

captioned Donnie McKelvey v. Soo Line Railroad Company, doing business as Canadian Pacific

(“Complaint”), Case Number 2020-L-010890. See Complaint (ECF 1, Ex. A). The Complaint was

captioned in the Circuit Court of Cook County, State of Illinois, First Judicial District.

       2.      On November 25, 2020, Defendant timely filed its Notice of Removal, pursuant to

28 U.S.C. § 1441, in the captioned matter.

       3.      Under Federal Rule of Civil Procedure 81, Defendant must answer or otherwise

plead 7 days after notice of removal has been filed. Fed. R. Civ. Pro. 81(c)(2).

       4.      Defendant timely filed its appearance by counsel on November 25, 2020.

       5.      Plaintiff timely filed his appearance by counsel on November 27, 2020.




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       6.      Defendant respectfully requests an additional 28 days, up to and including

December 30, 2020, to Answer or otherwise plead to Plaintiff's Complaint.

       7.      Pursuant to this Court's Procedures, on December 1, 2020 Defendant notified

Plaintiff of its intention to file a motion to dismiss and Defendant and Plaintiff met and conferred

by telephone regarding this Motion.

       8.      Plaintiff does not oppose Defendant's Motion for Enlargement of Time to Answer

or Otherwise Plead, or the number of additional days sought herein.

         WHEREFORE, Defendant, Soo Line Railroad Company d/b/a Canadian Pacific,

respectfully requests that this Honorable Court enlarge the time to Answer or otherwise plead to

Plaintiff’s Complaint, up to and including December 30, 2020, and grant any and all further relief

as is necessary under the circumstances.

                                                     Respectfully Submitted,
                                                     Defendant, Soo Line Railroad Company
                                                     d/b/a Canadian Pacific.

                                                     /s/ Andrew J. Cunniff, Esq.
                                                     One of its attorneys.


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